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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


UNITED STATES OF AMERICA,
                                                 CR-11-83-GF-BMM
                Plaintiff,
      vs.

HIRAM EVANS,                                            ORDER

                Defendant.


      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on May 15, 2020. (Doc. 92.)

      When a party makes no objections, the Court need not review de novo the

proposed Findings and Recommendations. Thomas v. Arn, 474 U.S. 140, 153-52

(1986). This Court will review Judge Johnston’s Findings and Recommendations,

however, for clear error. McDonnell Douglas Corp. v. Commodore Bus. Mach.,

Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).
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      Judge Johnston conducted a revocation hearing on May 14, 2020. (Doc. 91.)

The United States accused Evans of violating his conditions of supervised release

1) by consuming alcohol on three separate occasions; 2) by submitting a

diluted urine sample; 3) by failing to report for sex offender treatment on two

separate occasions; 4) by using methamphetamine on two separate occasions; and

5) by failing to report for substance abuse treatment on two separate occasions

(Doc. 88.)

      At the revocation hearing, Evans admitted that he had violated a condition of

his supervised release 1) by consuming alcohol on three separate occasions; 2) by

submitting a diluted urine sample; 3) by failing to report for sex offender treatment

on two separate occasions; 4) by using methamphetamine on two separate

occasions; and 5) by failing to report for substance abuse treatment on two separate

occasions . (Doc. 91.) Judge Johnston found that Evans’ violations warranted

revocation, and recommended that Evans should receive a custodial sentence until

May 18, 2020, with 35 months of supervised release to follow with the first 60

days of supervised release at Connections Corrections in Warm Springs, Montana.

The sentence imposed should run concurrent with the sentence imposed in Cause

CR 12-93-GF-BMM. (Doc. 92 at 4.)
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      The violations prove serious and warrant revocation of Evans’ supervised

release. The Court finds no clear error in Judge Johnston’s Findings and

Recommendations.

      Accordingly, IT IS ORDERED that Judge Johnston’s Findings and

Recommendations (Doc. 92) are ADOPTED IN FULL.

       IT IS FURTHER ORDERED that Defendant Hiram Evans be incarcerated

until May 18, 2020, with 35 months of supervised release to follow with the first

60 days of supervised release at Connections Corrections in Warm Springs,

Montana. This sentence imposed should run concurrent with the sentence

imposed in Cause CR 12-93-GF-BMM

      DATED this 15th day of May, 2020.
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